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                   EXHIBIT 3
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                                                          Friday, June 20, 2025 at 11:26:44 AM Eastern Daylight Time

Subject:      Documents missing from Defendants' discovery
Date:         Sunday, June 15, 2025 at 11:54:06 PM Eastern Daylight Time
From:         Noam Biale
To:           Kanellis, William G. (CIV)
CC:           Jameel Jaer, Ramya Krishnan, Caroline DeCell, Xiangnong Wang, Talya R Nevins, Jackson Busch, Scott
              Wilkens, arulanantham@law.ucla.edu, Michael Tremonte, Alexandra Conlon, Courtney Gans, Kanter,
              Ethan (CIV), Santora, Victoria M (CIV), Strokus, Jessica D. (CIV), Busen, Jesse (CIV), Stone, Paul (CIV),
              Yen, Shawna (USAMA), Hennes, Stefanie (CIV)
Attachments: image006.jpg, image007.jpg, image008.jpg, image005.jpg, 6.16.25 Letter to Govt re Missing
             Documents.pdf




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Dear All,

Based on our review of the discovery you provided and the deposition testimony of Messrs.
Armstrong and Watson, it has become clear to us that there are numerous gaps in Defendants’
productions. The attached letter identifies the documents that are missing and should be turned
over immediately. Because the 30 day deadline for you to respond to our RFPs and interrogatories
has already lapsed, we ask that you respond to the attached letter by close of business tomorrow
or we will have to file a motion to compel.

Regards,
Noam

                       Noam Biale
                       Sher Tremonte LLP
                       90 Broad Street, 23rd!Floor | New York, NY 10004
                       tel: 212.300.2445 | fax: 212.202.4156!
                       nbiale@shertremonte.com!!
                       www.shertremonte.com




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                                                June 16, 2025

 VIA EMAIL

Jesse Busen (jesse.busen@usdoj.gov)
Stefanie Hennes (stefanie.hennes@usdoj.gov)
William G. Kanellis (william.g.kanellis@usdoj.gov)
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Jessica D. Strokus (jessica.d.strokus@usdoj.gov)
Shawna Yen (shawna.yen@usdoj.gov)


                 Re:    American Association of University Professors v.
                        Rubio, 25 civ. 10685-WGY

 Dear Counsel:

       The following list identifies responsive documents Plaintiffs are aware of but that
are missing from Defendants’ document production. These documents should have been
produced by the deadline of June 13, 2025, and should now be produced immediately. If
Defendants assert the deliberative process privilege, law enforcement privilege, or
presidential communications privilege, Defendants most provide a privilege log and submit
the documents to the Court for in camera review. Because you have failed to meet the
deadline to provide these documents set forth in the Federal Rules of Criminal Procedure,
we respectfully request that you produce the documents by close of business tomorrow,
June 17, 2025. If you do not produce the documents by that time, we will be forced to file
a motion to compel.




                       90 Broad Street | 23rd Floor | New York, NY 10004
                  www.shertremonte.com | tel. 212.202.2600 | fax. 212.202.4156
                                               2
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             (remaining pages redacted in full)
